         Case 14-31229-sgj15        Doc 111       Filed 04/29/14      Entered 04/29/14 11:57:29           Desc
                                                     Page 1 of 1

                                                                                              U.S. BANKRUPTCY COURT
                                                                                            NORTHERN DISTRICT OF TEXAS


                                                                                               ENTERED
                                                                                            TAWANA C. MARSHALL, CLERK
                                                                                                THE DATE OF ENTRY IS
                                                                                              ON THE COURT'S DOCKET



 The following constitutes the ruling of the court and has the force and effect therein described.



  Signed April 29, 2014
______________________________________________________________________



BTXN 104b/105b (rev. 09/11)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                     §
MtGox Co., Ltd.                                            §    Case No.: 14−31229−sgj15
Nobuaki Kobayashi                                          §    Chapter No.: 15
                                        Debtor(s)          §


                              ORDER FOR ADMISSION PRO HAC VICE
     The Court, having considered the Application for Admission Pro Hac Vice of Daniel J. Saval, to represent
Foreign Representative Nobuaki Kobayashi, related to document 104, ORDERS this application be:

    Granted − The Clerk of the District Court for the Northern District of Texas shall deposit the application fee to
the account of the Non−Appropriated Fund.

    Denied − The Clerk of the District Court for the Northern District of Texas shall return the admission fee to the
applicant.

                                               # # # End of Order # # #
